                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



DENESE TOLIVER,                             §
                                            §
                   Plaintiff,               §
                                            §
v.                                          §        CIVIL ACTION NO. H-12-2436
                                            §
EXPERIAN INFORMATION SOLUTIONS,             §
INC.,                                       §
                                            §
                   Defendant.               §




                         MEMORANDUM OPINION AND ORDER



      Toliver     filed   suit    on August      14,     2012,     against     Experian

Information     Solutions,       Inc.     ("Experian")       and   Trans     Union,   LLC

("Trans Union")     alleging violations of the Fair Credit Reporting

Act   ("FCRA"),    and    against       LVNV Funding,        LLC   ("LVNV" )   alleging

violations of the FCRA and the Fair Debt Collection Practices Act

("FDCPA") .     Her claims arise from a failure to secure a mortgage

allegedly resulting from inaccuracies in her credit report that

caused her credit score to drop below the minimum required by the

mortgage      provider.      Pending        before     the     court    is     Defendant

Experian's Motion for Summary Judgment and Brief in Support (Docket

Entry No. 41) on Toliver's claims under §§ 1681e(b) and 1681i(a) of

the FCRA.      For the reasons discussed below, Experian's Motion for

Summary Judgment will be granted in part and denied in part.
               I.   Factual and Procedural Background

      Tol i ver opened a   Sears credit   card in October of   1993. 1

Between 2003 and 2005 she experienced financial difficulties. 2      In

late 2005 Toliver became delinquent on her Sears card account and

eventually defaulted.)     Sears charged off the account in March of

2006. 4

      Sears sold the defaulted debt to LVNV In March of 2006. 5 LVNV

began reporting the account to Experian. 6     LVNV reported the debt

using the Metro 2 Format ("Metro 2") developed by the Consumer Data

Industry Association ("CDIA")     and published in the CDIA's Credit




     lComplaint, Docket Entry No.1, p. 20 ~ 45i Sep. 5, 2011,
Toliver Consumer Disclosure, Exhibit C to Defendant Experian's
Motion for Summary Judgment and Brief in Support ("Experian' s
Motion for Summary Judgment"), Docket Entry No. 41, p. 7, Docket
Entry No. 43.

     2Toliver Deposition Excerpts ("Toliver Deposition"), Exhibit F
to Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 64:18-65:8, Docket Entry No. 44.

     3Sep . 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Defendant's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43.



     5Declaration of Tonya Henderson of LVNV Funding,       LLC
("Henderson Declaration"), Exhibit E to Defendant' s Motion for
Summary Judgment, Docket Entry No. 41, p. 2 ~ 4, Docket Entry
No. 42.

     6Experian's Motion for Summary Judgment, Docket Entry No. 41,
p. 7i Plaintiff's Response and Brief in Opposition to Defendant's
Experian's Motion for Summary Judgment ("Plaintiff' s Response"),
Docket Entry No. 66, p. 10.

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Reporting Resource Guide. 7            LVNV used the Metro 2 codes "OC" and

"Oil   to report the account to Experian.B

        In   July    of   2011     Toliver    disputed     several        accounts   that

appeared     on     her   credit    report,        including   the   LVNV    account.   9



Experian responded to these disputes by sending Automated Consumer

Dispute Verifications            (ACDVs)   to the creditors reporting each of

the disputed accounts.10           As a result, several accounts on Toliver's

Experian credit report contained a                   notation that they had been

disputed      by    the   consumer. 11        LVNV    responded      to    the   ACDV   on

August 16, 2011. 12        In its    respons~,       LVNV confirmed the nature of


     7Henderson Declaration, Exhibit E to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 2 ~~ 8-9, Docket Entry
No. 42; Rebuttal Report by Kimberly Hughes to Evan Hendricks' and
Edwin Johansson's Expert Reports in the Matter of Toliver v.
Experian Information Solutions, Inc. ("Hughes Report"), Exhibit L
to Experian's Motion for Summary Judgment, Docket Entry No. 41,
p. 4, Docket Entry No. 42; Affidavit in Support of Objection to
Summary Judgment in matter of Toliver vs. Experian Information
Solutions, LLC ("Johansson Affidavit"), Exhibit A to Plaintiff's
Response, Docket Entry No. 66, p. 3.

     BHenderson Declaration, Exhibit E to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 2 ~~ 8-9, Docket Entry
No. 42.

     9Declaration of Teresa Iwanski     ("Iwanski Declaration"),
Exhibit A to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 5 ~ 14, Docket Entry No. 42.

    lOId.; Experian ACDVs, Exhibit B to Experian's Motion for
Summary Judgment, Docket Entry No. 41, Docket Entry No. 43;
Plaintiff's Response, Docket Entry No. 66, p. 9.

     llAug. 25, 2011, Toliver Consumer Disclosure, Exhibit D to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 5-12, Docket Entry No. 43.

     l2Experian ACDVs, Exhibit B to Experian's Motion for Summary
Judgment, Docket Entry No. 41, Docket Entry No. 43

                                             -3-
the debt, updated the balance amount and date, and added a notation

of Toliver's dispute. 13

      In the fall of 2011 Toliver sought a mortgage to purchase a

home from K. Hovnanian American Mortgage ("K. Hovnanian"). 14       After

an initial review she was told that she would likely be approved,

but   that    she could not   close until    the dispute notations were

removed from her credit report.15         When the dispute notations were

removed, however, Toliver's credit score declined significantly.16

As a result of this decline, K. Hovnanian informed Toliver that she

would likely not be approved for the loan,          and she withdrew her

application. 17

      In October of 2011 Toliver's attorney called LVNV, and LVNV

placed the dispute notation for the LVNV account back on her credit

report .18    When the dispute notation was added back,       her credit

score increased significantly.19



      13Id.

    14Affidavit of Denese Toliver ("Toliver Affidavit"), Exhibit I
to Plaintiff's Response, Docket Entry No. 66, p. 2 ~ 2.
      15Id.

     16Johan~son Affidavit, Exhibit A to Plaintiff's Response,
Docket Entry No. 66, pp. 5-6; Toliver Affidavit, Exhibit I to
Plaintiff's Response, Docket Entry No. 66, p. 2 ~ 2.

     17Toliver Affidavit, Exhibit I to Plaintiff's Response, Docket
Entry No. 66, p. 2 ~ 2.

     18Dec. 2, 2011, letter of representation or official dispute
to Experian from Toliver's attorney, Dennis McCarty ("Official
Dispute"), Exhibit H to Plaintiff's Response, Docket Entry No. 66.
      19Id.

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     In December of 2011 Toliver,              through her attorney,          sent a

letter to Experian disputing the way that the LVNV account was

reported on her credi t        report. 20     In the letter Toliver disputed

LVNV's use of the Metro 2            codes    "OC"    and   "0"   to describe the

account as well as several of the dates included in the report.21

Experian responded by letter on December 20 and sent an ACDV to

LVNV on December 21, describing the basis of Toliver's dispute. 22

LVNV confirmed the nature of the debt by responding with the same

Metro 2 codes that it had previously used,                  updated the balance

amount and date, and added a notation of Toliver's dispute. 23

      In   May   of   2012   Toliver,       through   her   attorney,   contacted

Experian to      dispute     the   LVNV account       and   the   defaulted    Sears

account. 24   Because both accounts were scheduled to be deleted from

Toliver's credit report less than a month later, in June of 2012,



      2°Id.

      21Id.

     22Iwanski Declaration, Exhibit A to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 6 ~ 19, Docket Entry
No. 42; Experian ACDVs, Exhibit B to Experian's Motion for Summary
Judgment, Docket Entry No. 41, Docket Entry No. 43.

     23Iwanski Declaration, Exhibit A to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 7 ~ 20, Docket Entry
No. 42; Experian ACDVs, Exhibit B to Experian's Motion for Summary
Judgment, Docket Entry No. 41, Docket Entry No. 43.

     24Iwanski Declaration, Exhibit A to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 7 ~ 22, Docket Entry
No. 42.

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                                                                                     25
Experian decided to delete both accounts from her credit file.

Experian mailed these results to Toliver on May 14, 2012. 26

      Toliver filed suit on August 14, 2012, against Experian and

Trans Union alleging violations of            §§   1681e(b) and 1681i(a) of the

FCRA, and against LVNV alleging violations of              §    1681s-2(b) of the

FCRA and several sections of the FDCPA.               Pending before the court

is Experian's Motion for Summary Judgment on Toliver's claims under

§§   1681e(b) and 1681i(a) of the FCRA.


                             II.   Standard of Review

       Summary judgment is authorized if the movant establishes that

there is no genuine dispute about any material fact,                    and the law

entitles it to judgment.           Fed. R. Civ. P. 56(a)              Disputes about

material       facts   are   genuine   ~if    the    evidence    is    such   that        a

reasonable jury could return a verdict for the nonmoving party."

Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2510 (1986).                   The

moving party is entitled to judgment as a matter of law if                       ~the


nonmoving party has          failed to make a        sufficient       showing on an

essential element of her case with respect to which she has the

burden of proof."        Celotex Corp. v. Cattrett, 106 S. Ct. 2548, 2552

(1986) .

       A party moving for summary j udgment             ~must    'demonstrate the

absence of a genuine issue of material fact,' but need not negate


       25Id.


       26Id.



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the elements of the nonmovant' s case.           /I   Little v. Liquid Air Corp. ,

37 F.3d 1069, 1075 (5th Cir. 1994)              (en banc)     (quoting Celotex, 106

S. Ct. at 2553).          "If the moving party fails to meet this initial

burden,    the motion must be denied, regardless of the nonmovant's

response./I      Id.     If, however, the moving party meets this burden,

"the nonmovant must go beyond the pleadings/l and produce evidence

that specific facts exist over which there is a genuine issue for

trial.    Id.    (citing Celotex, 106 S. Ct. at 2553-54).                 The nonmovant

"must do more than simply show that there is some metaphysical

doubt as to the material facts./I           Matsushita Elec. Indus. Co., Ltd.

v. Zenith Radio Corp., 106 S. Ct. 1348, 1356 (1986)

       In reviewing the evidence, "the court must draw all reasonable

inferences in favor of the nonmoving party,                    and it may not make

credibility determinations          or weigh          the    evidence.   /I         Reeves   v.

Sanderson Plumbing Prods.,          Inc.,    120 S. Ct.         2097,    2110        (2000).

Factual controversies are to be resolved in favor of the nonmovant,

"but only when there is an actual controversy, that is, when both

parties have submitted evidence of contradictory facts./I                             Little,

37 F.3d at 1075.


                       III.   The Fair Credit Reporting Act

       The purpose of the FCRA is "to require that consumer reporting

agencies       adopt    reasonable procedures          for    meeting         the    needs    of

commerce for consumer credit . . . information in a manner which is

fair     and     equitable     to   the     consumer,        with   regard            to     the

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confidentiality,          accuracy,     relevancy,          and proper utilization of

such information."              15 U.S.C.       §     1681 (b) .     "The Act           defines   a

complex set of rights and obligations that attend the relationships

among and between the provider of a credit report, the user of that

information and the consumer who is made the subject of such a

report."     Sepulvado v. CSC Credit Servs.! Inc., 158 F.3d 890 (5th

Cir.1998).       Among the obligations that the FCRA imposes is the

requirement that "[w]henever a consumer reporting agency prepares

a consumer report it shall follow reasonable procedures to assure

maximum    possible        accuracy        of    the      information         concerning       the

individual about whom the report relates."                         15 U.S.C.       §   1681e(b)

In addition,        "if    the      completeness          or accuracy of           any    item of

information contained in a consumer's file at a consumer reporting

agency is disputed by the consumer .                        . the agency shall, free of

charge, conduct a reasonable reinvestigation to determine whether

the   disputed      information is          inaccurate            and record the           current

status of the disputed information,                       or delete the item from the

file."     15 U.S.C.       §   1681i(a).

      Under the FCRA a consumer reporting agency                              ("CRA")     is "any

person     which,    for        monetary    fees,         dues,     or   on    a       cooperative

nonprofit basis,          regularly engages in whole or in part                            in the

practice of assembling or evaluating consumer credit information or

other    information           on   consumers       for    the     purpose     of       furnishing

consumer reports to third parties."                     15 U.S.C. § 1681a(e).              Section

16810 of the FCRA creates a private right of action for negligent

                                                -8-
violations of the Act, while           §   1681n provides a similar remedy for

willful violations.        "The FCRA is to be liberally construed in

favor of the consumer."             Wagner v. TRW, Inc., No. 97-30601, 1998

WL 127812,    at *1     (5th Cir.      Mar.       4,       1998)    (per curiam)         (citing

Guimond v. Trans Union Credit Info. Co., 45 F.3d 1329, 1333                                    (9th

Cir.1995)).


                IV.     Toliver's Claims Under                 §   1681e(b)

       Section 1681e (b)       of    the   FCRA provides                that    "[w] henever      a

consumer    reporting    agency prepares               a    consumer       report       it   shall

follow reasonable procedures to assure maximum possible accuracy of

the information concerning the individual about whom the report

relates."      15     U.S.C.    §    1681e(b).               "A    credit       entry    may    be

'inaccurate' within the meaning of the statute either because it is

patently incorrect, or because it is misleading in such a way and

to such an extent that it can be expected to adversely affect

credit decisions."       Sepulvado, 158 F.3d at 896.                      "Section 1681e(b)

does not impose strict liability for any inaccurate credit report,

but only a duty of reasonable care in preparation of the report."

Thompson v.    San Antonio Retail Merchs. Ass'n,                         682 F.2d 509,          513

(5th Cir. 1982).        "[T]he plaintiff must show that the inaccuracy

resulted from a negligent or willful failure to use reasonable

procedures when the report was prepared."                          Sepulvado, 158 F.3d at

896.    "The standard of conduct by which the trier of fact must

judge   the   adequacy of       agency procedures                  is    what    a   reasonably

                                            -9-
prudent person would do under the circumstances."                              Thompson,       682

F.2d at 513.

        In   her    complaint ,           Toliver     alleges    that    Experian violated

§     1681e (b)    by     "not      following        reasonable    procedures         to   assure

maximum possible accuracy. "27                     She asserts that a delinquent Sears

credit account purchased by LVNV had a disproportionate negative

impact on her credit score due                        to alleged inaccuracies              in her

Experian         credit       report. 28      Toliver      asserts      that   those       alleged

inaccuracies caused the FIC0 29 credit scoring model to give the LVNV

account undue weight, significantly impacting her credit score. 30

Toliver identifies three alleged inaccuracies in her credit report:

(1)     use of the Metro 2 code                    "OC"   to   indicate that         LVNV was a

"factoring company" rather than a debt collector;                              (2)   use of the

Metro 2 code            "0"    to indicate that the LVNV account was                        "open"

rather than "charged off";                   (3)    "[a]llow[ing] a six year old debt

[to] look like a new and recent delinquency as well as looking like

it is being reported by an original lender."31                              Each of Toliver's

allegations is addressed below.


         27Complaint, Docket Entry No. I, p. 15                   ~   42.

         28Id. at 15-17         ~   42.

     29FICO is the brand name of Fair Isaac Corporation, formerly
Fair, Isaac and Company, Inc. The FICO credit scoring model is the
most commonly used model throughout the credit industry.        See
Hughes Report, Exhibit L to Experian's Motion for Summary Judgment,
Docket Entry No. 41, p. 7, Docket Entry No. 42.

         30Complaint, Docket Entry No. I, pp. 15-17                      ~   42.
         31Id.

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A.     Use of the Metro 2 Code "OC" to Classify LVNV Was Accurate

        Toliver argues that use of the Metro 2 code "OCR to classify

LVNV was inaccurate. 32           She asserts that had LVNV been classified

on her credit report as a debt collector the LVNV account would

have affected her credit score much less than it allegedly did. 33

She argues that because LVNV purchased her debt after it was In

default r LVNV was a "debt collector" under the FDCPA.                               15 U.S.C.

§    1692a (6) .       AccordinglYr        Toliver argues that the LVNV account

should have been reported with a code that reflected LVNVrs status

as a debt collector under              §    1692a(6) .34

        In its Motion for Summary Judgmentr                          Experian advances four

reasons why it           is entitled to            judgment as            a matter of   law on

Toliverrs       §     1681e(b)   claim for use of the Metro 2 code "OCR to

classify LVNV:             (1)   the       Metro   2        code   "OCR    was   accurate;   (2)

Experian followed reasonable procedures to assure maximum possible

accuracy;       (3)    Toliver has not produced any evidence that use of the

"OCR code caused her any damages; and (4) Toliver has not produced


        32Id.

     33Id.  Toliver asserts that the LVNV account impacted her
credit score by eighty-nine points.    Id.  However r as Toliverrs
expert points out r that figure represents the difference between
the Trans Union credit score on October 17 r 2011 r and the Trans
Union credit score on November lr 2011.      Johansson Affidavitr
Exhibit A to Plaintiffrs Response r Docket Entry No. 66 r p. 6.  A
credit score was never prepared using data from Experian on
November lr 2011. Id. A credit score was prepared using data from
Experian on April 6 r 2012.  Id. at 7. The difference between the
credit scores prepared on October 17 r 2011 r and April 4 r 2012 r
using Experian data is forty-five points. See id. at 6-7.

        34Complaintr Docket Entry No.                  lr    p. 15   ~    42.

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any evidence that Experian acted willfully, which is required if

Toliver is to recover any punitive damages from Experian. 35 Because

Experian's use of the "OC" code was accurate, it is unnecessary to

address Experian's other arguments for summary judgment.

       In order to establish a prima facie case under                          §   1681e(b), a

consumer must produce some evidence of an inaccuracy in her credit

report.    See Washington v. CSC Credit Servs., Inc., 199 F.3d 263,

267 n.3    (5th Cir. 2000)         (listing cases holding that inaccuracy is

an essential element of a prima facie case under                      §   1681e(b))         i   see

also Cahlin v. General Motors Acceptance Corp., 936 F.2d 1151,1156

n.9    (11th Cir. 1991)       ("[T]he burden of proving that a particular

report is inaccurate is part of the plaintiff's case and not an

affirmative defense for a defendant credit reporting agency.").                                   "A

credit entry may be 'inaccurate' within the meaning of the statute

either    because     it     is    patently         incorrect,   or       because          it     is

misleading in such a way and to such an extent that it can be

expected to adversely affect credit decisions."                           Sepulvado,             158

F.3d at 896      (5th Cir.        1998).      Mere imprecision does not render

information      inaccurate.          See     Wagner,     1998   WL       127812,          at     *1

(construing the holding in Pinner v. Schmidt, 805 F.2d 1258                                     (5th

Cir.    1986),   on   the    distinction        between     accuracy           and    "maximum

possible accuracy").              However,    information that            is       "open to an

interpretation        that    is     directly         contradictory        to        the        true


     35Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 5-6.

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information" is sufficiently misleading to qualify as inaccurate.

Id.; see also Pinner, 805 F.2d at 1262-63.

     In upholding a grant of summary judgment for the defendant

CRA, the Fifth Circuit in Wagner held that a credit report entry

stating that the plaintiff had "5 or more"                   late payments on an

account was not inaccurate when the consumer had in fact been late

with payment "6 times."         Wagner, 1998 WL 127812, at *1.            The court

rejected the plaintiff's argument that the "use of 'or more' was

unreasonably ambiguous because it could mean that [the plaintiff]

was late 6,      10, or 100 times."         Id.     Distinguishing its earlier

holding in Pinner, the court noted that "the 'or more' notation,

although     imprecise,    is    neither       inaccurate      nor    open      to     an

interpretation      that   is    directly         contradictory      to   the        true

information."              In Pinner the Fifth Circuit held that the

notation "Litigation Pending" in the plaintiff's credit file was

ambiguous    because   "any person could easily have                 construed the

notation 'Litigation Pending' as an indication that the plaintiff

was being sued by [the creditor], while the actual situation was

the reverse."      Pinner, 805 F.2d at 1262.

     It     is   undisputed     that   at     all    times    pertinent      to      this

litigation the Metro 2 code "OC" was used to classify the LVNV

account on Toliver's credit report.36               Toliver asserts that use of


     36Complaint, Docket Entry No.1, p. 15 ~ 42; Experian's Motion
for Summary Judgment, Docket Entry No. 41, p. 7; Plaintiff's
Response, Docket Entry No. 66, p. 14.

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the   "oc"    code makes      it    appear as       though LVNV is           a    "factoring

company" rather than a debt collector. 37                   However,       "oc" is a code,

and its meaning is defined by its developers.

        The Metro 2 code was developed by the                       CDIA,    and detailed

information     about   the        code   is   available       in   the     CDIA's    Credit

Reporting Resource Guide             ("CRRG"). 38      According to the CRRG,            the

Metro 2 code "oc" is used to designate a particular creditor as a

"Debt Buyer." 39     The term "Debt Buyer"                  is defined in the CRRG's

glossary to mean "[a] company or individual who purchases accounts

(generally non-performing debts)                   with the     intent      of    collecting

debts owed.,,40    The glossary entry for "factoring company" simply

states "See Debt Buyer. ,,41          Thus, it is clear that the "OC" code is

meant    to   include   all    debt       buyers,     whether       they    are    factoring

companies or debt purchasers who might otherwise be classified as

debt collectors under 15 U.S.C.                §    1692.     The CDIA considers all



        37Plaintiff's Response, Docket Entry No. 66, p. 18.

     38Hughes Report, Exhibit L to Experian's Motion for Summary
Judgment, Docket Entry No. 41, p. 4, Docket Entry No. 42; Johansson
Affidavit, Exhibit A to Plaintiff's Response, Docket Entry No. 66,
p. 3.

     39Excerpt of CRRG, Exhibit J to Experian's Motion for Summary
Judgment, Docket Entry No. 41, p. 10-3, Docket Entry No. 42.

     4°Glossary of Terms, Exhibit C3 to Trans Union LLC' s Motion for
Summary Judgment, Docket Entry No. 38, p. 7-2; see also Excerpt of
CRRG, Exhibit J to Experian's Motion for Summary Judgment, Docket
Entry No. 41, p. 10-1, Docket Entry No. 42           (repeating the
definition of "debt buyer" as presented in the CRRG's glossary).

     41CRRG Glossary, Exhibit I to Experian's Motion for Summary
Judgment, Docket Entry No. 41, p. 7-3, Docket Entry No. 42.

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factoring companies to be debt buyers, but not all debt buyers to

be factoring companies.

       Experian characterizes        factoring     companies as      "specialized

debt   buyer [s]   generally   focusing       on   the    purchase   of    accounts

receivable. "42    Although Toliver has produced copious evidence as

to the business practices of factoring companies,                    she does not

appear to contest this characterization. 43              Instead, Toliver argues

that certain debt buyers who also qualify as debt collectors under

§   1692 must be separated from other debt buyers and categorized

differently, lest the debt collector be permitted to "masquerade as

a factoring company. "44   But   §   1681e (b) imposes no such requirement.

       The evidence produced by both parties establishes conclusively

that LVNV is "[a] company             . who purchases accounts            (generally

non-performing debts) with the intent of collecting debts owed"-the

very definition of the "OC" code. 4s          While the code, defined broadly



     42Experian's Motion for Summary Judgment, Docket Entry No. 41,
p. 7 n.2.

     43Affidavit to the Court in the Matter of Toliver vs. Experian
Information Solutions, Inc. ("Wilson Affidavit"), Exhibit C to
Plaintiff's Response, Docket Entry No. 66, pp. 3-7.

     44Johansson Affidavit,          Exhibit    A to      Plaintiff's     Response,
Docket Entry No. 66, p. 3.

     4sHenderson Declaration, Exhibit E to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 2 ~~ 4-9, Docket Entry
No. 42; Excerpt of CRRG, Exhibit J to Experian's Motion for Summary
Judgment, Docket Entry No. 41, p. 10-1, Docket Entry No. 42; LVNV
Screen Shot, June 8, 2013, Exhibit K to Experian's Motion for
Summary Judgment, Docket Entry No. 41, Docket Entry No. 42;
July 26, 2013, e-mail, Exhibit B to Plaintiff's Response, Docket
Entry No. 66.

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enough to include both factoring companies and purchasers of bad

debts l    could perhaps be defined more preciselYI                                              it    is neither

inaccurate nor misleading.                           Wagner l 1998 WL 127812 at *1.

      Toliver argues that                        §   1681e (b)   I    S    goal of ensuring "maximum

possible accuracy of the information                             ll
                                                                          in a consumerls credit file

compels use of the Metro 2 code "48 11 to report the LVNV account. 46

The CRRG defines code                        "48"    as the code that should be used to

identify a creditor as a "Collection Agency/Attorney. 1147                                                  The CRRG

defines            a     "third    party         collection               agencyll     as    "a        company      or

individual who                specializes in collecting outstanding debts                                           for

other     businesses               or       individuals. 1148               Thus   I   the       CDIA       draws     a

distinction between those who attempt to collect on debts that they

own (debt buyers) and those who attempt to collect on debts owned

by another (third-party collection agencies) .

         The FDCPA defines the term "debt collector" to include both

third-party collection agencies and debt buyers who purchase debts

after they are in default.                           Perry v. Stewart Title CO.                         I   756 F.2d

1197 1     1208            (5th    Cir.         1985).          It        also     clearly            defines       the

prohibitions and obligations to which such persons are subject.                                                      15

u.S.C.     §           1692 1 et   seq.         Nowhere does the FDCPA indicate that a

CRAls obligation under                      §   1681e(b) to "follow reasonable procedures



         46Complaintl Docket Entry No. 11 p. 15-17                                     ~   42.

     47Excerpt of CRRG Exhibit J to Experian/s Motion for Summary
                                        I

Judgment Docket Entry No. 411 p. 10-3 1 Docket Entry No. 42.
               I




         48Id. at 10-1.

                                                         -16-
to assure maximum possible accuracyll is altered by a particular

creditor's status as a debt collector under                         §   1692(a).     Thus, use

of   the   code   "OC II    to    identify LVNV as            "[a]       company              who

purchases accounts (generally non-performing debts) with the intent

of collecting debts owed,lI an undeniably accurate description of

LVNV's business,           is not rendered inaccurate simply because LVNV

might also be a debt collector under                     §   1692(a).          In fact, use of

the Metro 2 code "48         11
                                  to describe LVNV, a code that specifically

excludes the type of debt purchasing in which LVNV engages, would

be even less accurate than the code that Toliver complains about.

       Toliver has not produced any evidence to support her claim

that Experian ever characterized the LVNV account as belonging to

a    factoring    company,         nor    has    she     produced        any    evidence      that

Experian     ever     intimated          to     anyone       else       that    it   should     be

characterized       as     such.         None    of    her    Experian         credit   reports

describe the LVNV account as belonging to a factoring company.49

Furthermore, the evidence produced by both parties indicates that

the developers of the credit scoring models know or have access to

the definitions of the Metro 2 codes. 50                      That the models may treat


     49Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     50Affidavit of   Evan Hendricks    ("Hendricks Affidavitll) ,
Exhibit F to Plaintiff's Response, Docket Entry No. 66, p. 3; see
                                                    (continued ... )

                                                -17-
the "OC" code as identifying a factoring company account does not

make the code itself,      which is clearly defined to include debt

buyers like LVNV, inaccurate or misleading.

     Accordingly,   because    the     Metro     2   code       "OC"    accurately

described the LVNV account, Experian is entitled to judgment as a

matter of law on the issue of whether use of that code to classify

the LVNV account on Toliver's credit report violated § 1681e(b).


B.   Use of the Metro 2 Code "0" to Classify the LVNV Account Was
     Accurate

     Toliver argues that use of the Metro 2 code "0" to classify

the LVNV account was inaccurate. 51         She asserts that because Sears,

the original   creditor,    "charged off"       the account           prior to   its

purchase by LVNV, it was no longer an "open" account, and that use

of the "0"   code was thus inaccurate. 52         She also argues that the

account should have been reported as "charged off," and that had it



     50 ( • • • continued)

also Hughes Report, Exhibit L to Experian's Motion for Summary
Judgment, Docket Entry No. 41, p. 4, Docket Entry No. 42
(describing the Metro 2 Format as "a standard format for the entire
credit reporting industryll and noting that "Experian provides all
of its data furnishers with             a copy of the CRRG,II thus
indicating that access to the definitions of the Metro 2 codes is
widespread within the credit reporting industry) i Johansson
Affidavit, Exhibit A to Plaintiff's Response, Docket Entry No. 66,
p. 3 (asserting that "[f] ew Americans even know [the CRRG] exists, II
but acknowledging its use throughout the credit reporting
industry) .

     51Complaint, Docket Entry No.1, Pp. 15-17              ~   42.
     52rd.

                                     -18-
been reported in such a manner the negative effect on her credit

score would have been less significant. 53

        In its Motion for Summary Judgment, Experian again argues:

(1)   that the Metro 2 code       "0"    was accurate;    (2)   that Experian

followed reasonable procedures to assure maximum possible accuracy;

(3) that Toliver has not produced any evidence that use of the "OC"

code caused her any damages; and (4) that Toliver has not produced

any evidence that Experian acted willfully, which is required if

Toliver is to recover any punitive damages from Experian. 54          Because

use of the      "0"   code was accurate,       it is unnecessary to address

Experian's other arguments for summary judgment.

        The "0" code,    like the "OC" code, is clearly defined in the

CRRG.     According to the CRRG, "0" identifies an account as "open,"

which is defined to mean "accounts where the entire balance is due

upon demand or that have one payment due as scheduled. ,,55           Toliver

does not dispute that she is liable for the LVNV account.56           She has

produced no evidence to suggest that the entire balance is not due



        53Id.

     54Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 5-6.

     55Glossary of Terms, Exhibit C3 to Trans Union LLC's Motion for
Summary Judgment, Docket Entry No. 38, p. 7-5; see also Hughes
Report, Exhibit L to Experian's Motion for Summary Judgment, Docket
Entry No. 41, p. 6, Docket Entry No. 42 ("[A]n unpaid collection
account is considered due and owing.")

     56Toliver Deposition, Exhibit F to Experian's Motion for
Summary Judgment, Docket Entry No. 41, pp. 69:19-69:25, 95:7-95:23,
Docket Entry No. 44.

                                        -19-
upon demand.              Toliver's      dispute      with use   of       the    "0"   code     to

describe the LVNV account is the CRRG's use of the word "open" to

define it, which she argues can be misinterpreted to mean that the

account was not "charged off" by the original creditor. 57                                As a

result, she claims, the credit scoring models treat the account as

"a fresh and new delinquency from the original lender." 5B

       Like      the definition of             the    term "debt buyer,"           the   CRRG's

definition of the term "open" leaves no room for Toliver's proposed

misinterpretation.                  Indeed,    in addition to clearly defining the

term (and the "0" code) as an "[a]ccount where the entire balance

is due upon demand,            II   the CRRG's glossary entry for the term "open"

indicates that it is used by "Collection Agencies, Child Support

Agencies, Debt Buyers, Student Loan Guarantors, the u.S. Department

of Education (as guarantor) and Utility Services' payment plans                               ."59



This definition provides no support for Toliver's argument that the

code    reflects          "a   fresh     and    new   delinquency     from       the   original

lender."         In fact,           the LVNV entry on her Experian credit report

clearly identifies the original lender as "CITIBANK SEARS. ,,60



       57Complaint, Docket Entry No.1, pp. 15-17                      ~    42.

       58 I   d . at 16    ~   42.

    59Glossary of Terms, Exhibit C3 to Trans Union LLC' s Motion for
Summary Judgment, Docket Entry No. 38, p. 7-5.

     60Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
                                                    (continued ... )

                                                 -20-
      Furthermore,      in addition to reporting the account using the

"0"   code,   debt buyers attempting to collect on an account are

instructed by the CRRG to also use the Metro 2 code "93" to report

the   account's    "status." 61       This   designation     indicates    that    the

"account [was] assigned to internal or external collections."                     The

LVNV account at issue included the "93" status code in addition to

the "0" code,     consistent with the CRRG's guidelines. 62               Thus,    in

addition to reporting the LVNV account as "due upon demand," LVNV

also reported that it was assigned to collections.                     Given that

these    codes    are   well-defined         and   the   definitions     known    and

accessible to those in the credit reporting industry, it would be

unreasonable to conclude that the codes are misleading.63

        Accordingly, because Toliver has failed to establish a genuine

issue of material fact as to whether use of the Metro 2 code "0" to

report the LVNV account was inaccurate,                  Experian is entitled to

summary judgment on this          §   1681e(b) claim.


     60 ( ... continued)
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     61Excerpt of CRRG, Exhibit J to Experian's Motion for Summary
Judgment, Docket Entry No. 41, p. 10-3, Docket Entry No. 42.

     62Id.; Hughes Report, Exhibit L to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 5, Docket Entry No. 42;
see also Johansson Affidavit, Exhibit A to Plaintiff's Response,
Docket Entry No. 66, p. 11 ("LVNV Funding reported with an Account
Type of Open and a Rating of Charge-off. ") .

     63Hendricks Affidavit, Exhibit F to Plaintiff's Response,
Docket Entry No. 66, p. 3; Hughes Report, Exhibit L to Experian's
Motion for Summary Judgment, Docket Entry No. 41, p. 4, Docket
Entry No. 42.

                                         -21-
C.     Appearance of Recency

          Toliver argues that Experian "[a]llow[ed] a six (6) year old

debt      [to]    look like        a   new and recent              delinquency. ,,64               Toliver

advances two theories for why the LVNV debt appears more recent

than       it    should       on   her    Experian          credit           report:        (1 )    it     is

misclassified as an "open" account with a "factoring company" and

that      classification           misleads           the   credit           scoring       models        into

thinking that it is a recent del inquency i 65 and                                   (2)   the various

dates      reported on the             Experian credit             report make             the account

appear more recent than it actually is. 66                         For the reasons discussed

in   §§     IV.A and IV.B above, Toliver's first argument fails because

the coding was accurate as a matter of law.                              Accordingly, the court

will only address Toliver's claims regarding the dates listed on

her Experian credit reports.

          Toliver       has   presented       excerpts            from       two     Experian       credit

reports         dated    September       6,   2011,         and    January           10,   2012. 67        In

addition, Experian has produced excerpts from two credit reports

dated August 25, 2011, and September 5, 2011. 68                                    A review of these


          64Complaint, Docket Entry No.1, p. 17                          ~    42.

     65Id. at 4-5 ~~ 14-25, 6 ~ 29, 15-17                                      ~     42i    Plaintiff's
Response, Docket Entry No. 66, pp. 14, 30.

     66Complaint, Docket Entry No.1, pp. 4-5 ~~ 22-23, 6 ~ 29,
15-17 ~ 42i Plaintiff's Response, Docket Entry No. 66, pp. 14, 30.

     67Johansson Affidavit, Exhibit                          A to        Plaintiff's           Response,
Docket Entry No. 66, pp. 17, 19.

    68Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, Docket
                                                     (cont inued ... )
                                                -22-



                                   ._._---_   .....   __.._--
reports indicates that the dates provided in certain entries on

each of the reports could be "misleading in such a way and to such


           continued)
     68 ( • • •

Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure, Exhibit D
to Experian's Motion for Summary Judgment, Docket Entry No. 41,
Docket Entry No. 43. In its Motion for Summary Judgment, Experian
identifies each of these reports as a "Consumer Disclosure."
Defendant Experian Information Solution's List of Exhibit's, Docket
Entry No. 42, p. 1.    The court notes that this is technically a
more accurate description of the reports than the term "credit
report" because, as the header of each report indicates, the
reports were prepared for Toliver rather than a third party.
Johansson Affidavit, Exhibit A to Plaintiff's Response, Docket
Entry No. 66, pp. 17, 19; Sep. 5, 2011, Toliver Consumer
Disclosure, Exhibit C to Experian's Motion for Summary Judgment,
Docket Entry No. 41, Docket Entry No. 43; Aug. 25, 2011, Toliver
Consumer Disclosure, Exhibit D to Experian's Motion for Summary
Judgment, Docket Entry No. 41, Docket Entry No. 43.        The FCRA
broadly defines the term "consumer report" to mean "any written,
oral, or other communication of any information by a consumer
reporting agency bearing on a consumer's credit worthiness, credit
standing, credit capacity, character, general reputation, personal
characteristics, or mode of living which is used or expected to be
used or collected in whole or in part for the purpose of serving as
a factor in establishing the consumer's eligibility for credit."
15 U.S.C. § 1681a(d) (1) (A).  Because the reports produced by the
parties were prepared for Toliver rather than a third party, they
do not meet the definition of "consumer report" under the statute.
See Cousin v. Trans Union Corp., 246 F.3d 359, 367-68 (5th Cir.
2001) (suggesting that reports prepared solely for the consumer who
is the subj ect of the report are not "consumer reports" for
purposes of § 1681e (b) liability).     However, because the FCRA
requires consumer disclosures to consist of "complete copies of
the[] consumer['s] reports," the court can infer that the consumer
disclosures produced by the parties accurately reflect the
information contained in the consumer reports received by FICO and
used to calculate Toliver's credit score.       Gillespie v. Trans
Union, 482 F.3d 907, 909 (7th Cir. 2007).        This inference is
supported by the fact that both parties have used these reports to
explain the changes in Toliver's FICO credit scores.      Johansson
Affidavit, Exhibit A to Plaintiff's Response, Docket Entry No. 66,
pp. 9-10; Defendant Experian's Reply Brief in Support of its Motion
for Summary Judgment ("Experian' s Reply"), Docket Entry No. 73,
pp. 14-15.    For ease of discussion, the court will refer to the
produced reports as "credit reports," as the parties have done in
their briefs.

                               -23-
an extent that           [they]   can be expected to adversely affect credit

decisions."         Sepulvado, 158 F.3d at 896.

        There are eight entries where dates are provided for the LVNV

account on Toliver's Experian credit reports.69                    Toliver appears to

dispute the accuracy of five of these entries:                     (1) "Date opened,"

(2) "First reported,"             (3) "Date of Status," (4) "Payment history,"

and (5)      "Account history."7o


        1.        Date Opened

        The date entry "Mar 2006" is printed under the heading "Date

opened"       in Toliver's        Experian credit      reports.    71   This   date   is

consistent among all four Experian credit reports that the parties

produced. 72       Toliver argues that "debt purchasers must \ stand in the

shoes'       of the original creditors and must report the same dates

             as    the   original    creditors. ,,73   She   further     argues   that



     69Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

        7°Complaint, Docket Entry No. I, pp. 5 ~ 23, 6 ~ 29,                      16-17
~ 42;    Plaintiff's Response, Docket Entry No. 66, p. 14.

     7lSep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.
        72rd.

        73Complaint, Docket Entry No.1, p. 5             ~   23.

                                           -24-
reporting the LVNV account with a "Date opened                               ll
                                                                                  of "Mar.         2006,11

rather than using the date that the account was opened with Sears,

the     original       creditor,          caused            the    LVNV   account       to     have           a

disproportionate negative impact on her credit score. 74

        In Sepulvado, the Fifth Circuit held that an entry on a credit

report that indicated that an obligation had been "assigned                                   ll
                                                                                                   to the

reporting creditor was not "facially misleading or inaccurate.                                           1I




Sepulvado, 158 F.3d at 892, 896.                           The plaintiffs in Sepulvado were

denied a mortgage because of an entry on a credit report prepared

by Advanced Credit Technology (ACT) that contained an "open date                                              ll




of March 1994 and "indicated that .                               . no payments had ever been

made.   II    Id.    at       892-94.          In fact,          the   entry was       related to a

deficiency          from a      foreclosure               that    occurred   in    1988.           Id.   at

891-92.        The mortgage provider interpreted the entry to reflect

that the plaintiffs had taken out a loan in March 1994 "and then

immediately defaulted without making any payments.                                II   Id. at 893.

ACT had retrieved the                   information that               it used to prepare the

plaintiff's credit report from the defendant, CSC.                                     Id. at 892.

CSC's entry for the same account, however, did not have an "open

date.   II   Id. at 893 n.4.            Instead, the CSC entry indicated that the

account had been "assigned                ll
                                                   to the reporting creditor in March of

1994.        Id.     In reversing judgment for the plaintiffs,                               the Fifth

Circuit held that CSC's entry was accurate because "CSC's use of


        HId. at 6         ~   29, 15-17        ~    42.

                                                     -25-
the term 'assigned'     (as compared to the phrase 'open date' in ACT's

report) would have placed a creditor on notice that the obligation

existed before the March 1994 assignment date."                rd. at 896.

     Similar to the ACT report in Sepulvado,                 Toliver's Experian

credit report contained an entry titled            ~Date   opened" with the date

that the reporting creditor obtained the debt, rather than the date

that the debt actually arose, and indicated that no payments had

ever been made.      A reasonable creditor could interpret this, just

as the mortgage provider in Sepulvado did,                 to mean that Toliver

took out a loan in March of 2006 and immediately defaulted without

making any payments.     Although Toliver's Experian credit reports do

identify the original creditor, while the CSC report in Sepulvado

did not, id. at 893 n.4, a reasonable creditor might nonetheless

conclude that the debt,       though once owned by another, was opened

and defaulted on in March 2006.              The Fifth Circuit         held that

failure to identify the original creditor did not render the report

misleading because      the   use of      assignment       language   ~would   have

placed a creditor on notice that the obligation existed before" the

assignment   date.      rd.   at   896.    Here,    there    is no    language to

indicate that   ~Date   opened" means anything other than the date that

the consumer opened the account,           as it does for the majority of

accounts on Toliver's credit report. 75            Thus, although it is a very


     75Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 3-21, Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer
                                                  (continued ... )

                                      -26-
close call,       drawing all inferences in a light most favorable to

Toliver, a reasonable jury could find that the "Date opened" entry

was "misleading in such a way and to such an extent that it can be

expected to adversely affect credit decisions."                          Sepulvado,      158

F.3d at 896.

        Toliver has produced no evidence, however, that K. Hovnanian

ever viewed the           "Date opened"      notation on her Experian credit

report.     Instead, she argues that "allow [ing] a six year old debt

[to]    look like a new and recent delinquency"                     caused her credit

score to decline so drastically that she no longer qualified for a

K.   Hovnanian mortgage. 76          However,       Toliver has not produced any

evidence to suggest that the open date actually caused a negative

impact to her credit score.                She presents evidence that the FICO

credit     scoring        model     will     afford     more       weight      to     recent

delinquencies, but does not indicate that the open date on the LVNV

account,    which        matches    the    charge-off    date      with      the    original

creditor, in any way makes her delinquency appear more recent than

it     actually    is.      Thus,    because       Toliver   has       not   produced    any

evidence to suggest that the open date or use of the phrase "Date

opened"    on her Experian credit              report    caused her any damages,


     75 ( ... continued)
Disclosure, Exhibit D to Experian's Motion for Summary Judgment,
Docket Entry No. 41, pp. 5-10, Docket Entry No. 43; Johansson
Affidavit, Exhibit A to Plaintiff's Response, Docket Entry No. 66,
pp. 17, 19.

        76Complaint, Docket Entry No. I, p. 1 7              ~   42.

                                            -27-
Experian is entitled to summary judgment on her        §   1681e(b) claim on

the "Mar. 2006" "Date opened" entry.


     2.     First Reported

     Immediately beneath     the   "Date   opened"    entry    on    Toliver's

Experian credit reports is an entry titled "First reported."                The

date for this entry is not consistent among all four reports.

While the August and September reports read "Aug 2011," the January

2012 report reads "Jan 2012."77     Toliver alleges that the "date of

August    2011 was added out of nowhere. "78         Toliver has produced

evidence to suggest that the date in this entry is used in credit

scoring models and that a more recent date in this entry will have

a greater negative impact on a consumer's credit score. 79


            (a)   Toliver has raised a genuine issue of material fact
                  regarding the accuracy of the "First reported"
                  entry.

     According to the evidence produced by Toliver,                 the   "First

reported"   entry should reflect either the date that LVNV first

reported the account on her credit report or the date that the debt

was first reported as a major delinquency with Sears, the original


     77S ep . 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     78Plaintiff's Response, Docket Entry No. 66, p. 14.

     79Johansson Affidavit, Exhibit        A to   Plaintiff's        Response,
Docket Entry No. 66, pp. 9-10.

                                   -28-
credi tor. so         In either case,     that date would be prior to August

2011,   the earliest date that is recorded on the Experian credit

reports    produced        by   the    parties. Sl      Experian    has    produced   no

evidence to suggest             that   such an       interpretation of      the   "First

reported"       entry      is   incorrect.           Thus,    Toliver     has   produced

sufficient evidence to establish a genuine issue of material fact

as to the accuracy of the dates reported in the "First reported"

entry on her Experian credit report.


                (b)     Toliver has raised a genuine issue of material
                        facts   to  the  reasonableness  of  Experian's
                        procedures.

        "Section 1681e (b)        does not impose strict liability for any

inaccurate credit report, but only a duty of reasonable care in

preparation of the report."                Thompson,     682 F.2d at 513.         "[T]he

plaintiff must show that the inaccuracy resulted from a negligent

or willful failure to use reasonable procedures when the report was

prepared."        Sepulvado, 158 F.3d at 896.                "The standard of conduct

by which the           trier of    fact    must    judge the      adequacy of agency

procedures is what a reasonably prudent person would do under the

circumstances."           Thompson, 682 F.2d at 513.



        SOld. at 11.

     SlId. at 11, 17, 19; Sep. 5, 2011, Toliver Consumer Disclosure,
Exhibit C to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 7, Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer
Disclosure, Exhibit D to Experian's Motion for Summary Judgment,
Docket Entry No. 41, p. 8, Docket Entry No. 43.

                                            -29-
      There is a divergence among the circuits as to the "nature and

quantum of proof,       if any, beyond the mere fact of an inaccuracy,

that a plaintiff must provide in order for a reasonable trier of

fact to conclude that reasonable procedures were not followed."

Philbin v. Trans Union Corp.,         101 F.3d 957,   964   (3d Cir. 1996),

abrogated on other grounds by Cortez v. Trans Union, LLC, 617 F.3d

688   (3d Cir. 2010)       The D.C. Circuit has held that "a plaintiff

cannot   rest    on a   showing of    mere   inaccuracy,    shifting   to   the

defendant the burden of proof on the reasonableness of procedures

for ensuring accuracy."       Stewart v. Credit Bureau, Inc., 734 F.2d

47, 51 (D. C. Cir. 1984).     Under Stewart "a plaintiff must minimally

present some evidence from which a trier of fact can infer that the

consumer reporting agency failed to follow reasonable procedures in

preparing a credit report," but "a plaintiff need not introduce

direct evidence of unreasonableness of procedures:               In certain

instances,      inaccurate credit reports by themselves can fairly be

read as evidencing unreasonable procedures."           Id. at 51-52.        Such

instances include the presence of inconsistencies between multiple

reports on the same consumer or entries that are inconsistent with

the rest of a consumer's file.         Id. at 52-53; see also Cortez, 617

F.3d at 709      (reiterating the holding in Philbin that inconsist-

encies between two different reports concerning a single consumer

are sufficient for a plaintiff to withstand a motion for summary

judgment on a claim under       §   1681e(b)).


                                      -30-
     The Ninth Circuit has held that once a consumer "present[s]

evidence tending to show that a credit reporting agency prepared a

report containing inaccurate information . . . an agency can escape

liability if it establishes that an inaccurate report was generated

despite the agency's following reasonable procedures."                   Guimond, 45

F.3d at 1333.     Similarly, the Eleventh Circuit has held that once

a plaintiff satisfies her initial burden by producing evidence to

suggest inaccurate information in her credit report, "[t]he agency

can escape liability if it establishes that an inaccurate report

was generated by following reasonable procedures."                       Cahlin,    936

F.2d at 1156.     As noted in Philbin, under Guimond and Cahlin "once

a   plaintiff    has    demonstrated          inaccuracies    in   the    report,      a

defendant could prevail on summary judgment only if it were to

produce evidence that demonstrates as a matter of law that the

procedures it followed were reasonable."              Philbin, 101 F.3d at 965.

      With respect      to     the   "First    reported"     entry on her credit

report, Toliver has produced sufficient evidence to satisfy either

standard.    She has produced two inconsistent credit reports, one

dated September 6,       2011,       with a    "First reported"     date of        "Aug.

2011," and one dated January 10, 2012, with a "First reported" date

of "Jan. 2012. ,,82     In addition, though her Experian credit reports

contain at      least   four    other accounts       identified as        collection



     82Johansson Affidavit, Exhibit               A to     Plaintiff's     Response,
Docket Entry No. 66, pp. 17, 19.

                                         -31-
accounts with open dates between 2006 and 2008,                           none of        these

accounts   have    a     "First    reported"       date    as    recent      as    the     LVNV

account, which shows a "First reported" date over five years after

the   open date. 83       Toliver's       evidence    suggests        that    LVNV first

reported the account as early as 2006, and Experian has produced no

evidence to suggest otherwise. 84

      Experian     asserts        that   it   "has    extensive        procedures           for

assuring    the    maximum        possible        accuracy       of   reported        credit

information,"      including        "sophisticated         computer       programs          and

software" and continual testing and upgrades to its databases. 85

However, Experian has not produced any evidence to explain why an

entry that implicitly suggests that it should remain constant (an

account    can    only    be   reported       for    the     first    time        once),     is

nonetheless inconsistent between reports.                  Accordingly, drawing all

inferences in a light most favorable to Toliver, a reasonable jury

could find that Experian' s procedures with regard to the "First

reported" entry were not reasonable.                  See Cousin v.           Trans Union



     83Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 3-7, Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer
Disclosure, Exhibit D to Experian's Motion for Summary Judgment,
Docket Entry No. 41, pp. 8-10, Docket Entry No. 43.

     84Johansson Affidavit,              Exhibit    A to        Plaintiff's       Response,
Docket Entry No. 66, p. 11.

     85Iwanski Declaration, Exhibit                 A to Experian's Motion for
Summary Judgment, Docket Entry No.                  41, p. 3 ~ 6, Docket Entry
No. 42.

                                           -32-
Corp., 246 F.3d 359, 368 ("In the majority of cases, reasonableness

is a question for the jury.") .


                (c)   Toliver has produced sufficient evidence to suggest
                      that the inaccuracy caused her alleged damages.

        Experian      argues   that   Toliver   has   not    produced     sufficient

evidence to create a genuine issue of material fact as to whether

her damages were cased by Experian. 86          However, Tol i ver has produced

three credit score reports containing credit scores allegedly based

on information obtained from Experian from which a reasonable jury

could conclude         that    the disputed date      entries on her Experian

credit report caused her credit score to drop so significantly that

she no longer qualified for a mortgage from K. Hovnanian.

        First, Toliver produces a credit score report dated October 3,

2011,    which contains a credit score for Experian of 694. 87                   She

asserts that at the time that this credit score was calculated

several delinquent accounts, including the LVNV account, contained

a   consumer dispute notation. 88          She asserts        that when accounts

contain such a notation they are excluded from the credit scoring

model. 89   Next, she produces a credit score report dated October 17,


     86Experian's Motion for Summary Judgment, Docket Entry No. 41,
p. 12.

     87Johansson Affidavit,           Exhibit    A to       Plaintiff's    Response,
Docket Entry No. 66, p. 5.
        88Id.

     89Complaint, Docket Entry No.1, pp. 15-16, ~ 42; Plaintiff's
Response, Docket Entry No. 66, pp. 13-14; Johansson Affidavit,
Exhibit A to Plaintiff's Response, Docket Entry No. 66, p. 5.

                                         -33-
2011,    which contains a credit score for Experian of 618. 90                   The

credit    score    on    this     report   was    calculated after Toliver       had

contacted her creditors and had the consumer dispute notations

removed from all of her accounts. 91              One of the reason codes given

to explain why her credit score was not higher was:                    "time since

delinquency is too recent or unknown. "92              Finally, Toliver produces

a credit score report dated April 6, 2012, which contains a credit

score for Experian of 663. 93          The only account in dispute when this

score was calculated was the LVNV account. 94                Notably, the reason

code referring to the recency of delinquency is not included in

this report.95         Accordingly, a reasonable jury could conclude that,

had     the     LVNV    account     been   reporting      accurately   with     dates

comparable to the other collection accounts on her Experian credit

report, her credit score might not have been so impacted.                     Because

K. Hovnanian required a minimum credit score of 660 in order to

qualify for a mortgage,96 a reasonable jury might conclude that the

impact that the LVNV account had on Toliver's credit score caused


     90Johansson Affidavit,            Exhibit     A to    Plaintiff's   Response,
Docket Entry No. 66, p. 6.
        91Id.

        92Id.

        93Id. at 7 .

        94Id.

        95Id.

        96Id.   at 4.

                                           -34-
her to no longer qualify for a mortgage.                  Thus, Experian's motion

for summary judgment as to Toliver's                §   1681e(b) claim with regard

to the "First reported" entry must be denied.


     3.        Date of Status

     Immediately beneath the "First reported" entry on Toliver's

Experian credit report is an entry titled "Date of status."                      Like

the "First reported" entry,              the dates reported for the "Date of

status" entry are not consistent among all four of the reports

produced.      The dates entered mirror those for the "First reported"

entry, with the August and September reports reading "Aug 2011" and

the January 2012 report reading "Jan 2012.,,97


               (a)   Toliver has raised a genuine issue of material fact
                     regarding the accuracy of the "Date of status"
                     entry.

        Toliver has produced an expert report asserting that" 'Date of

Status'     is a     date   that    should mark the day a            debt was deemed

uncollectible and thus charged off."98                   A creditor presented with

Toliver's Experian credit report could reasonably interpret the

"Date     of   status"      entry   to    mean     exactly   that.      It   would   be


     97Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     98Johansson Affidavit,              Exhibit    A to     Plaintiff's     Response,
Docket Entry No. 66, p. 11.

                                           -35-
reasonable for a creditor to interpret the entry as referring to

the "Status" entry also present in the report.       The first sentence

in the "Status" entry reads "Collection account."99          The "Status"

entry also repeats the information found in the "Recent balance"

entry and provides    the date when the account       is   scheduled for

deletion from Toliver's credit report. 100     The only information in

the "Status" entry that is not accompanied by a date to identify

the   recency   of   the   information   is   the   phrase    "Collection

account. "101

      It would be reasonable for a creditor to interpret the "Date

of status" entry to refer to the account's status as a "Collection

account," as printed under the entry titled "Status."        Cf. Baker v.

Capital One Bank, No. CV 04-1192 PHX-NVW, 2006 WL 2523440, at *4-*5

(D. Ariz. 2006)   ("The 'status' that the 'Date of status' apparently



     99S ep . 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     100Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     101S ep . 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

                                  -36-
corresponds to is also noted:            'Status:         Included in bankruptcy/

Account charged off.'")        A review of the other accounts listed in

Toliver's Experian credit report                reveals    several    accounts with

"Status" entries as simple as "Closed," and "Open/Never late." 102

The "Date of status" entries for accounts with a "Closed" status

reflect the date that the account was closed/ as revealed by the

entries   under     the   heading   "Payment       history." 103      The   "Date   of

status" entries for accounts with an "Open/Never late" status also

match   the   payment     history   on     those     accounts,       revealing   that

payments were made on time up to the date of the report and thus

"Never late." 104     Furthermore, the "Date of status" entry for all

but one of the other accounts identified in the "Status" entry as

a "Collection account" on Toliver's Experian credit reports reflect

the dates that the accounts became collection accounts, as revealed

by their payment histories. 105


     102Sep . 5, 2011/ Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 8-21, Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer
Disclosure, Exhibit D to Experian's Motion for Summary Judgment,
Docket Entry No. 41, pp. 6-7, Docket Entry No. 43.

     103Sep . 5, 2011/ Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 8-9, Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer
Disclosure, Exhibit D to Experian's Motion for Summary Judgment,
Docket Entry No. 41, pp. 6-7, Docket Entry No. 43.

     104Sep . 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 10-11, 13-14, 16, 19-21, Docket Entry No. 43.
    105Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
                                                  (continued ... )

                                         -37-
      The only evidence that Experian has produced as to the "Date

of status"         entry is in a       summary of   its response to Toliver's

dispute letter where Experian "explained that the status date of an

account can change from month to month, for example, if Ms. Toliver

had   begun        paying   on   the    account     and   creating   good   credit

history.   ,,106    However, Toliver never made any payments on the LVNV

account,     nor is there any evidence of any other occurrence that

would have changed the account's status as a collection account. 107

Experian also fails to explain why the "Date of status" entry for

other collection accounts on Toliver's Experian credit reports

accurately reflect the date that the accounts became collection

accounts. lOB        Cf. Baker, 2006 WL 2523440 at *5 (declining to find

a "Date of status" entry accurate because it was unclear "whether,

for accounts with status of 'included in bankruptcy,' the 'Date of

status' field completed by the creditor should correspond with the



     105 ( ... continued)
pp. 3-6, Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer
Disclosure, Exhibit D to Experian's Motion for Summary Judgment,
Docket Entry No. 41, pp. 8-10, Docket Entry No. 43.

     106Iwanski Declaration, Exhibit A to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 6 ~ 19, Docket Entry
No. 42.

     107Henderson Declaration, Exhibit E to Experian' s Motion for
Summary Judgment, Docket Entry No. 41, p. 2 ~ 6, Docket Entry
No. 42.

     108Sep . 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 3-6, Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer
Disclosure, Exhibit D to Experian's Motion for Summary Judgment,
Docket Entry No. 41, pp. 8-10, Docket Entry No. 43.

                                          -38-
date of the bankruptcy").         Furthermore, the CRRG's instructions to

debt buyers make no mention of a date of status entry, though they

do   instruct     debt   buyers   to   report    an entry for     "Date of Last

Payment," which is defined as "the date of the most recent payment

made to the debt buyer or third party collection agency. "109

      Toliver has produced evidence to suggest that the FICO credit

scoring model affords greater weight to recent delinquencies, and

that the "Aug. 2011" "Date of status" entry on her Experian credit

report   could     make    it   appear   as     though   the   account   became     a

collection account more recently than it actually did. 110                   Thus,

drawing all inferences in a light most favorable to Toliver,                        a

reasonable jury could find that the "Date of status"                     entry was

"misleading in such a way and to such an extent that it can be

expected to adversely affect credit decisions."                   Sepulvado,      158

F.3d at 896.       Accordingly, Experian's motion for summary judgment

as to the accuracy of the "Date of Status" entry must be denied.


            (b)     Experian followed reasonable procedures.

      Toliver has failed to establish a genuine issue of material

fact as to the reasonableness of Experian's procedures with regard

to the "Date of status" entry.           Experian asserts that it "currently

stores about 2.6 billion trade lines,               from approximately 30,000



     109Excerpt of CRRG, Exhibit J to Experian's Motion for Summary
Judgment, Docket Entry No. 41, p. 10-5, Docket Entry No. 42.

     l1°Johansson Affidavit, Exhibit A to                Plaintiff's     Response,
Docket Entry No. 66, pp. 9-11.

                                         -39-
different sources, belonging to over 200 million customers, with

about 50 million updates daily."lll               "One can easily see how, even

wi th safeguards in place,           mistakes can happen.               But given the

complexity of the system and the volume of information involved, a

mistake does not render the procedures unreasonable."                          Sarver v.

Experian Info. Solutions, 390 F.3d 969, 972                  (7th Cir. 2004).

       Unlike the "First reported" entry, which by implication should

contain     only   a   single     date    that    is   not   subj ect    to    continual

updating,    the "Date of status" entry is periodically updated to

reflect changes in status, as well as to reflect recent payments on

open accounts with the designation "Never late. nl12                     Thus, absent

"notice     of   prevalent      unreliable       information     from     a    reporting

lender,   which would put Experian on notice that problems exist n

with its procedures, it was reasonable for Experian to rely on LVNV

to provide accurate information for the "Date of status" entry.

Id.; see also White v. Credit Bureau of Baton Rouge, No. 92-3662,

1993 WL 82324 at *1          (5th Cir. Mar.        18, 1993)    (per curiam)        ("The

statute     simply     requires    that    a     credit   bureau   use        \ reasonable

procedures' to assure accuracy of the information reported . . .

That   better      or more    stringent        procedures    may have         produced a


     111 Iwanski Declaration, Exhibit A to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 2 ~ 4, Docket Entry
No. 42.

     l12Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 10-11, 13-14, 16, 19-21, Docket Entry No. 43.

                                          -40-
different result is simply not the test.")                              Thus,     Experian is

entitled to judgment as a matter of law on Toliver's                               §   1681e(b)

claim regarding the          ~Date     of status" entry.


       4.      Payment History

       Toliver       argues           that        her    Experian             credit       report

"misrepresent [ed]        the    payment          history"   of       her   account. 113      She

points to an entry where LVNV "added a missed payment dated 8/11" 114

and    asserts     that    ~a    date        of    August    2011       was    added    out    of

nowhere. ,,115    However, she has not produced any evidence to suggest

that   such      reporting      was    inaccurate.           Toliver        admitted    in    her

deposition that between 2003 and 2005 she stopped making payments

on several of her credit accounts and that she never fully paid off

the Sears credit card account acquired by LVNV .116                              Experian has

produced evidence that Toliver never made any payments on the LVNV

account. 117

       Toliver's August and September Experian credit reports each

contain a single entry under the title "Payment history" indicating



       113Complaint, Docket Entry No. I, p. 6                     ~   29.

       114Id. at 16.

       115Plaintiff's Response, Docket Entry No. 66, p. 14.

     116Toliver Deposition, Exhibit F to Experian's Motion for
Summary Judgment, Docket Entry No. 41, pp.63:13-66:11, 69:19-69:24,
Docket Entry No. 44.

     117Henderson Declaration, Exhibit E to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 2 ~ 6, Docket Entry
No. 42.

                                              -41-
that in August 2011 the LVNV account was a collection account. 118

Similarly, her January 2012 Experian credit report contains only

one entry under the title "Payment history" that indicates that in

January 2012 the LVNV account was a collection account .119                Although

inconsistent with the payment history entries for other collection

accounts       originating    around   the      same   time   period,120   the   LVNV

entries are not inaccurate.            Toliver has not made any payments on

the LVNV account, and the "Payment history" entries reflect exactly

that.        Thus, Experian is entitled to judgment as a matter of law on

Toliver's       §   1681e(b) claim regarding the "Payment history" entries

on her Experian credit reports.


        5.      Account History

        Toliver makes essentially the same arguments regarding the

"Account history" entries on her Experian credit reports that she

makes regarding the "Payment history" entries.                   She asserts that

LVNV "added a missed payment dated 8/11, which drives the credit



     118Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, p. 17.

     119Johansson Affidavit,           Exhibit     A to   Plaintiff's      Response,
Docket Entry No. 66, p. 19.

     120See Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41,
pp. 3-7, Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer
Disclosure, Exhibit D to Experian's Motion for Summary Judgment,
Docket Entry No. 41, pp. 8-10, Docket Entry No. 43.

                                         -42-
score lower as activity on the account            rather than letting it

age. ,,121   This entry, under the heading "Actual amount paid ($)" and

present on all of the produced Experian credit reports, indicates

that in August of 2011 Toliver paid "0" on the LVNV account. 122

While Toliver argues that reporting "0" rather than not reporting

anything at all causes a disproportionate impact on her credit

score by indicating "activity on the account," she has failed to

produce any evidence to suggest that reporting "0" is in any way

inaccurate.       Toliver in fact paid nothing on the LVNV account in

August of 2011,123 and the "0" entry reflects exactly that.           Thus,

Experian is entitled to judgment as a matter of law on Toliver's

§   1681e (b)    claim regarding the   "Account    history"    entry on her

Experian credit report.


        6.      Identity of the Original Creditor

       Toliver argues that the way the LVNV account is reported on

her Experian credit report makes the account "look[]             like it is

being reported by an original lender. ,,124         However,   as explained



        121Complaint, Docket Entry No. I, p. 1 7    ~   42.

     122Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     123Henderson Declaration, Exhibit E to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 2 ~ 6, Docket Entry
No. 42.

        124Complaint, Docket Entry No. I, p. 1 7    ~   42.

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above, use of the Metro 2 code "OC" clearly indicates that LVNV is

a   debt       buyer.        Moreover,     the     LVNV   account   contains     an   entry

identifying the original lender as "CITIBANK SEARS. ,,125                     Toliver has

failed to present any evidence to suggest that this reporting makes

the account look like anything other than a                         collection account

owned by a         debt      buyer.       Accordingly,      Experian    is   entitled    to

summary judgment on Toliver's                  §   1681e(b) claim regarding whether

its reporting makes LVNV look like an original lender.


                        v.   Toliver's Claims Under          §   1681i(a)

      Section 1681i (a)              provides that        if a   consumer disputes the

completeness or accuracy of any item in her file,                            the CRA must

"conduct a         reasonable reinvestigation to determine whether the

disputed information is inaccurate and record the current status of

the disputed information, or delete the item from the file."                             15

u.S.C.     §   1681i(a)           Experian has provided a detailed account of the

procedures         that      it    used   in     reinvestigating     TOLIVER's    dispute

regarding the LVNV account .126                Toliver does not argue that Experian

failed to fulfill the various timing and procedural requirements

regarding a reinvestigation, only that the procedures it used were



     125Sep. 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     126Iwanski Declaration, Exhibit A to Experian's Motion for
Summary Judgment, Docket Entry No. 41, pp. 5-7, ~~ 14-22, Docket
Entry No. 42.

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not reasonable under the circumstances .127                 Toliver argues that, in

light    of   the    nature      of   her disputes,       it    was       unreasonable         for

Experian to rely exclusively on information that it received via

ACDVs from LVNV .128

        In addressing        a   claim under        §   1681i (a),        '" [t] he       decisive

inquiry'      is    whether      the    defendant       credit    bureau         could        have

uncovered the inaccuracy 'if it had reasonably reinvestigated the

matter.'"         DeAndrade v. Trans Union LLC, 523 F.3d 61,68 (1st Cir.

2008)    (quoting Cushman v. Trans Union Corp., 115 F.3d 220, 226 (3d

Cir.    1997))         "In a     reinvestigation of the accuracy of                         credit

reports,      a     credit     bureau    must    bear     some    responsibility               for

evaluating the accuracy of information obtained from subscribers.                               II




Stevenson v. TRW Inc., 987 F.2d 288, 293 (5th Cir. 1993)                              i   see also

Cushman, 115 F.3d at 225 (3d Cir. 1997)                   (holding that "in order to

fulfill its obligation under             §   1681i(a)     'a credit reporting agency

may be required, in certain circumstances, to verify the accuracy

of     its   initial    source of       information'"          (quoting Henson v.              CSC

Credit Servs., 29 F.3d 280, 287 (7th Cir. 1994))).

        The Third and Seventh Circuits have held that whether the

credit reporting agency has a duty to go beyond its original source

of information will depend on factors such as whether the consumer

has alerted the reporting agency to the possibility that the source

may be unreliable and the cost of verifying the accuracy of the



        127Complaint, Docket Entry No.1, pp. 8-10                     ~   39.

        128Plaintiff's Response, Docket Entry No. 66, pp. 19-23.

                                             -45-



                                                                ._---------_ ... - - - - - - - - - -
source versus the possible harm inaccurately reported information

may cause the consumer.                Cushman r 115 F.3d at 225; Henson r 29 F.3d

at   287.    The     Fifth Circuit                has        similarly held           that    CRAs   may

sometimes have a duty to go beyond a                                creditor r s       response to a

disputed item in limited circumstances.                             See Stevenson r 987 F.2d at

293 (holding that it was unreasonable for the defendant eRA to rely

solely on CDVs in its reinvestigation given the complexity of the

consumer's dispute); Pinner r 805 F.2d at 1262 (holding that it was

unreasonable       for       a       CRA     to       contact        only    the       creditor       for

verification       of    a    consumer r s            dispute       when    the       CRA    knew of    a

personal dispute between the creditor and the consumer) .

      Because Toliver has failed to establish a genuine issue of

material fact as to the accuracy of several of the entries in her

Experian credit report r               the        §   1681i (a)       claims related to those

entries must fail as a matter of law.                               See DeAndrade r 523 F.3d at

67 (holding that a claim brought under § 1681i(a) must fail absent

a genuine issue of material fact as to accuracy and noting that

"the weight of authority in other circuits indicates that without

a showing that the reported information was in fact inaccurate r a

claim brought under              §   1681i must failH).                Because Toliver has not

established a genuine issue of material fact as to whether the

"Date opened H entry caused her any damages r her                                 §    1681i(a) claim

regarding     that      entry must           fail.            See    Crabill      v.    Trans Union,

L.L.C. r    259   F.3d       662r      664    (7th Cir.             2001)    ("Without        a    causal

relation between the violation of the statute and the                                             loss of

                                                      -46-
credit, or some other harm, a plaintiff cannot obtain an award of

'actual damages'             . under the Fair Credit Reporting Act." ),

quoted in Wagner v. BellSouth Telecomms.              I   Inc., No. 12-31080, 2013

WL    1363900,     at   *2   (5th    Cir.     Apr.   5,    2013)   (per    curiam).

Accordingly,      the court will only address Toliver's claims under

§    1681i (a)   regarding the      "First reported"        and "Date of status"

entries on her Experian credit reports.


A.      The "First Reported" Entry

        Experian argues that its reliance on information from LVNV

contained in ACDVs was reasonable as a matter of law. 129                    However,

Experian has not offered any explanation as to why an entry that,

according to its title,             should reflect a        single date known to

Experian was nonetheless allowed to be changed regularly to reflect

more recent reporting.         The most that the court can infer from the

evidence presented is that the "First reported" entry is meant to

reflect the date that the creditor first reported the account to

Experian.        Experian should know this date.             Weighing the cost of

verifying the accuracy of this date against the allegedly possible

harm that        inaccurately reporting it may cause               the    consumer,   a

reasonable jury could conclude that Experian's reinvestigation in

this case was unreasonable.            See Cushman, 115 F.3d at 225; Henson,

29 F.3d at 287.



        129Defendant's Reply, Docket Entry No. 73, pp. 12-14.

                                            -47-
        Going beyond LVNV's response to the ACDVs in this case may not

have involved much more than comparing the date to Experian's own

records or clarifying the meaning of the "First reported" entry to

LVNV and asking for a response that accurately reflected the date

that the account was first reported to Experian.                        The evidence

produced suggests that LVNV updated the "First reported" entry at

least    as   often    as   Toliver    disputed    the     accuracy     of   the   LVNV

account.130       A reasonable jury could conclude that Experian should

have known that an account being disputed by the consumer could not

have been "First reported" on the date that the creditor replied to

its ACDVs.        Thus, Experian is not entitled to summary judgment on

Toliver's     §   1681i(a) claims regarding the "First reported" entry.


B.      The "Account Status" Entry

        As noted above in § IV.C.3. (b) addressing Toliver's § 1681e(b)

claim,    unlike the        "First reported"      entry,      which by implication

should contain only one date, whatever it is meant to represent,

the     "Account    status"    entry   is   subj ect     to   regular   updating     to

reflect certain payments made by the consumer and changes in the

account's status. 13I        Accordingly, Experian could expect this date


     130Sep . 5, 2011, Toliver Consumer Disclosure, Exhibit C to
Experian's Motion for Summary Judgment, Docket Entry No. 41, p. 7,
Docket Entry No. 43; Aug. 25, 2011, Toliver Consumer Disclosure,
Exhibit D to Experian's Motion for Summary Judgment, Docket Entry
No. 41, p. 8, Docket Entry No. 43; Johansson Affidavit, Exhibit A
to Plaintiff's Response, Docket Entry No. 66, pp. 17, 19.

     13IIwanski Declaration, Exhibit A to Experian's Motion for
Summary Judgment, Docket Entry No. 41, p. 6 ~ 19, Docket Entry
No. 42.

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to change regularly on the credit reports that it prepares,                           and

would not necessarily have been placed on notice of any systemic

problems with its procedures for assuring maximum possible accuracy

by the fact          that LVNV changed the date for this entry.                     Thus,

summary judgment as to Toliver's            §   1681e(b) claim was appropriate.

        However,      U[a] credit reporting agency that has been notified

of potentially inaccurate information in a consumer's credit report

is in a very different position than one who has no such notice."

Henson, 29 F.3d at 286.          When a CRA receives notice of a consumer's

dispute Uit can target its resources in a more efficient manner and

conduct a more thorough investigation."                   rd. at 286-87.         Thus, in

assessing the reasonableness of a CRA's procedures, "when one goes

from     the     §    1681e(b)    investigation          to     the    §   1681i(a)     re

investigation, the likelihood that the cost-benefit analysis will

shift in favor of the consumer increases markedly."                        Cushman, 115

F.3d at 220.         UJudgment as a matter of law, even if appropriate on

a   §   1681e (b)     claim,   thus may not be warranted on a                §   1681i (a)

claim."        rd.

        Here, Toliver's Experian credit reports contained a "Date of

status" that a reasonable jury could find misleading, and Experian

"could     have      uncovered    the    inaccuracy       'if     it   had   reasonably

reinvestigated the matter.'"             DeAndrade,       523 F.3d at 68         (quoting

Cushman,       115 F.3d at 226).        Experian asserts that in response to

Toliver's       December 2011     dispute       letter    it    "explained that        the

status date of an account can change from month to month,                              for

                                          -49-
         example,       if    Ms .       Toliver        had        begun paying       on    the    account    and

         creating good credit history.,,132                         However, Experian has produced no

         evidence that it ever inquired into whether Toliver actually made

         any payments, or whether her account's status had changed in any

         way.     Furthermore, a reasonable jury could conclude that Experian's

         exclusive reliance on LVNV's ACDV responses was unreasonable given

         that     the dates Toliver complained of appear to have come                                         from

         LVNV's response to a previous ACDV.                                Toliver was unable to secure

         a mortgage until Experian removed the LVNV account from her credit

         report        in    May     of     2012,        after        the    account       had    already     been

         reinvestigated twice via ACDV. 133                           Thus, on the evidence presented

         and drawing all inferences in a light most favorable to Toliver,

         summary judgment on Toliver's                         §   1681i(a) claim regarding the "Date

         of status" entry must be denied.


                                   VI.     Toliver's Claims Under                 §    l681n

                  Section 1681n provides a private cause of action for willful

         violations of the FCRA.                        The Fifth Circuit has held that "[o]nly

         defendants           who        engaged          in        'willful     misrepresentations             or

         concealments' have committed a willful violation and are subject to

         punitive       damages          under      §    1681n."            Stevenson,      987    F. 2d at    294

          (citing       Pinner,           805    F.2d         at     1263).       To       be    willful,     such


                  132Id. at 6        ~   19.

              133Id. at 7 ~ 22, Docket Entry No. 42; Toliver Affidavit,
         Exhibit I to Plaintiff's Response, Docket Entry No. 66, pp. 2-3
         ~~ 3-4; Defendant's Reply, Docket Entry No. 73, pp. 12-14.

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misrepresentations must be the result of either a knowing violation

or reckless disregard of the law.             Safeco Ins. Co. of Am. v. Burr,

127 S. Ct. 2201, 2208-10 (2007).             Toliver has produced no evidence

that Experian acted willfully.               Thus,     Experian is entitled to

summary judgment on all of Toliver's claims under                             §   1681n for

willful violations of the FCRA.


                          VII.    Conclusions and Order

        For the reasons explained above in           §§   IV.A and IV.B, the court

concludes that Toliver has not raised a genuine issue of material

fact for trial as to whether use of the Metro 2 codes "OC ff and                         "Off

to report the LVNV account on her credit report was inaccurate.

Thus,    the court concludes that Experian is entitled to summary

judgment on Toliver's claims under             §   1681e(b) and          §   1681i(a) with

regard to the use of those codes.

        For the reasons explained above in             §§    IV.C.4 and IV.C.5, the

court concludes that Toliver has not raised a genuine issue of

material fact for trial as to whether the information contained in

the entries titled "Payment historyff and "Account historyff were

inaccurate.         Thus, the court concludes that Experian is entitled to

summary       judgment    on     Toliver's    claims        under    §       1681e(b)     and

§   1681i(a) with regard to these entries.

        For   the    reasons     explained   above     in     §   IV. C. 1,       the   court

concludes that Toliver has not raised a genuine issue of material

fact for trial as to whether the date reported under the entry

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         titled "Date opened"              caused her any damages.                     Thus,      the court

         concludes        that      Experian     is   entitled            to    summary       judgment      on

         Toliver's claims under              §   1681e(b)       and   §       1681i(a) with regard to

         this entry.

                 For     the   reasons      explained       above         in    §   IV. C . 3 ,   the    court

         concludes that Toliver has not raised a genuine issue of material

         fact for trial as to the reasonableness of Experian's procedures

         under     §    1681e (b)    regarding the entry titled "Date of status."

         Thus,     the court concludes that Experian is entitled to summary

         judgment with regard to Toliver's                      §   1681e(b) claim regarding the

          "Date of status" entry.

                 For the reasons explained above in                       §   VI, the court concludes

         that Toliver has not raised a genuine issue of material fact for

         trial as to whether Experian acted willfully with regard to any

         alleged violation of the FCRA.                      Thus,        the court concludes that

         Experian is entitled to summary judgment on Toliver's claims under

          §    1681n for willful violations of the FCRA.

                  For    the     reasons    explained       above         in    §   IV. C. 2,     the    court

          concludes that Experian is not entitled to summary judgment for

          Toliver's negligence claim under                  §   1681e(b) as it pertains to the

          entry titled "First reported."               For the reasons explained above in

          §§   V.A and V.B, the court concludes that Experian is not entitled

          to summary judgment on Toliver's negligence claims under                                §   1681i (a)

          as    they pertain         to    the   information reported under                       the   "First

          reported" and "Date of status" entries.

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     Accordingly, Defendant Experian's Motion for Summary Judgment

(Docket Entry No. 41) is GRANTED IN PART and DENIED IN PART.

     Toliver has   filed   Plaintiff's Motion to Strike Experian's

Reply to Plaintiff' s   Response to Experian's Motion for Summary

Judgment ("Plaintiff's Motion to Strike Experian's Replyll)      (Docket

Entry No. 76).   The court routinely allows replies to motions even

though the   local rules do not expressly provide       for   them,   and

plaintiff's motion provides no persuasive reason why the court

should strike Experian' s reply.    Accordingly, Plaintiff' s Motion to

Strike Experian's Reply (Docket Entry No. 76) is DENIED.

     SIGNED at Houston, Texas, on this 19th day of September, 2013.




                                            7       SIM LAKE
                                          UNITED STATES DISTRICT JUDGE




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